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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


HOPEWELL CULTURE & DESIGN LLC,

                 Plaintiff,
                                                             CASE NO. 2:12-CV-691
       V.
                                                           JURY TRIAL DEMANDED
BARNES & NOBLE, INC.,

                 Defendant.



                          ORDER OF DISMISSAL WITH PREJUDICE

       In consideration of the parties’ Stipulated Motion for Dismissal of all claims with

prejudice and all counterclaims as moot asserted between Plaintiff, Hopewell Culture & Design

LLC and Defendant, Barnes & Noble, Inc., the Stipulated Motion for Dismissal is GRANTED,
    .
and it is ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

Plaintiff and Defendant are hereby dismissed with prejudice, subject to the terms of that certain

agreement entitled “PATENT LICENSE AND SETTLEMENT AGREEMENT” dated March

18, 2013.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 21st day of March, 2013.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
